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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )             8:10CR192
                                                   )
       vs.                                         )             ORDER
                                                   )
TERRY L. MOUNTAIN,                                 )
                                                   )
                     Defendant.                    )



       This matter is before the court on the motion of defendant Terry L. Mountain
(Mountain) to review pretrial detention (Filing No. 85). After reviewing the Pretrial Services
report, Mountain’s criminal and substance abuse history, the motion to review (Filing No. 85)
is denied.
       Mountain has a history of noncompliance, sporadic employment, elusiveness and
outright untruthfulness with his supervising officer. He has a history of bouncing around from
girlfriend to girlfriend and he is difficult to locate at the residences where he reports to be
living. Mountain was given an opportunity on Pretrial Release in 1999 when first indicted on
cocaine charges and he violated due to marijuana possession and use. After his conviction
and completion of his BOP sentence in that case, he was placed on supervised release from
August, 2007 to May, 2010. During that time period, the record is replete with violations, i.e:
       a.     11/28/07 - tested positive for cocaine;
       b.     08/19/08 - cited for possession of marijuana;
       c.     01/12/09 - tested positive for marijuana.
These violations resulted in 1 day incarceration with BOP and 55 months supervised release.
       Mountain again violated his conditions of supervised release:
       a.     08/11/09 - admitted using marijuana;
       b.     01/12/10 - tested positive for marijuana;
       c.     01/25/10 - OPD made a controlled buy of cocaine from Mountain (led to
              current Indictment)
       d.     02/12/10 - Failed to appear for drug testing;
       e.     04/21/10 - Failed to appear for drug testing.
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      Pretrial Services reports that Mountain inaccurately reported to Pretrial Services his
living arrangements and location.
      Accordingly, the motion to review detention (Filing No. 85) is denied.
      IT IS SO ORDERED.


      DATED this 26th day of August, 2010.


                                                 BY THE COURT:


                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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